EXHIBIT B
                    MEMORANDUM OF UNDERSTANDING
          BETWEEN THE VIRGINIA DEPARTMENT OF MOTOR VEHICLES
              AND THE VIRGINIA DEPARTMENT OF ELECTIONS


       This Memorandum of Understanding (MOU) is made and entered into by and between
the Virginia Department of Motor Vehicles ("OMV") and the Virginia Department of Elections
(•ELECTIONS"). The MOU effective date is established by the date ofexecution.


                                           Article I
                                   Introduction and Purpose

        The primary purpose of this MOU is to establish the terms and conditions under which,
pursuant to Code of Virginia§§ 24.2-410.1, 24.2-411.3, 46.2-208(8)(9), 46.2-208.1, and 46.2-
328.1, and Executive Orders Number Thirty-One (2024) and Number Thirty-Five (2024), OMV
will provide certain data and electronic access to data to ELECTIONS, which requires this data
in the conduct of its official duties under Title 24.2 of the Code of Virginia, and the terms and
conditions under which ELECTIONS will receive, use, and protect the data provided to it by
OMV. This MOU wiJI cover the following five data transfers:

   A. Data Extraction File Transfers
   B. Data Transferred Pursuant to the National Voter Registration Act
   c. ELECTIONS Access to relevant OMV Infonnation Systems
   D. Digital Signature Service
   E. VERlS verification against DMV records


                                           Artlcle2
                                       General Provisions

2.1 Term. This MOU will commence upon the execution by both parties and will continue in
effect until modified, amended, or tenninated.

2.2 Termination. Either party may terminate this MOU at any time for any reason.
Notwithstanding the foregoing, the parties agree that, to the extent reasonable, 30 days' notice of
intent to terminate this MOU will be provided to the other party.

2.3 Review and Modification of MOU. This MOU may be modified or amended as neccsslll}'
upon the mutual written agreement signed and dated by both parties. All modifications and
amendments shall be incorporated and made a part of the MOU as if attached hereto. This MOU
supersedes and replaces the MOU entered into by the Parties on March 15, 2021.

2.4 RelatlonshJp of the Parties. The parties shall meet and confer within 10 business days of a
request of either party to address issues arising under this MOU.
2.S Party Contacts. The parties identify the following individuals as their points of contact for
operational. administrative, and/or perfonnance questions, concerns or issues. and as their
representatives to receive notice under this MOU:

        ForDMV:                                       For ELECTIONS:
       Matthew Martin                                 Brandon Smith
       Director of Data and Records Services          Chief lnfonnation Officer
       Department of Motor Vehicles                   Department of Elections
       (804) 763-8568                                 (804) 971 ·3960
       Matth,cw.Martin@dmv.virginia.gov               Brandon,Smith@elections.virginia,m
       2300 West Broad Street                         1100 Bank Street, I_, Floor
       P.O. Box 27412                                 Richmond, VA 23219
       Richmond, Virginia 23269


2.6 Notice, Any notice required or pennitted to be given under the MOU shall be in writing and
shall be deemed to have been sufficiently given if delivered in person, if provided by email to the
person designated by each party to receive notice by email, or if deposited in the U.S. mail,
postage prepaid, for mailing by first class, registered, certified mail, or overnight courier service
addressed to the individual and at the address provided by each party. The parties may change
the individual identified in the preceding section to receive notice or any of the contact
infonnation by giving the other party notice of such change in accordance with this provision.
The parties agree that, should the designated person cease to be the appropriate representative,
such party shall appoint a new contact and notify the other party within five (5) business days of
the appointment.

2.7 Titles and Headings. Titles and headings are inserted for convenience only and shall not be
used to interpret this MOU.

2.8 Governing Law. This MOU shalt be governed by and interpreted in accordance with the
laws of the Commonwealth of Virginia and of the United States. If necessary, any disputes that
arise out of the MOU shall be tried by a court of competent jurisdiction located in the
Commonwealth of Virginia.

2.9 Modification of Data Fields and Services. Any addition, deletion, or significant
modification of the fields included in any of the data exchanges subject to the provisions of this
agreement, and any change to the frequency with which DMV sends the data to ELECTIONS,
must be agreed upon in writing. The parties may amend this agreement to reflect a modification
in accordance with Article 2.3 of this MOU or may attach the written documentation as an
amendment to this MOU. After OMV and ELECTIONS agree, in writing, to any modification to
data fields and services, DMV will develop, test, and implement software deve1opment lifecycle
and change-control processes pursuant to OMV and COV policies. OMV is a pass-through for
collecting customer infonnation, and ELECTIONS is responsible for ensuring that the data
received meets the agreed upon requirements in a timely manner in both test and production
environments.


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2.10 ELECTIONS LlablUty. ELECTIONS sha1l be liable for any misuse or misappropriation of
any information obtained from DMV in connection with this MOU, any failure by ELECTIONS,
its employees, agents, and/or authorized users to comply with the provisions of the Federal
Driver's Privacy Protection Act, Va. Code§§ 46.2-208 and 58.1-3, and the Government Data
Collection and Dissemination Practices Act, and for any failure to safeguard and limit access to
DMV files as required herein.

2.11 DMV Liability. DMV shall be liable for any misuse or misappropriation of any information
obtained from ELECTIONS in connection with this MOU, any failure by DMV, its employees,
agents, and/or authorized users to comply with the provisions of the Federal Driver's Privacy
Protection Ket, Va. Code§§ 46.2-208 and 58.1-3, and the Government Data Collection and
Dissemination Practices Act, and for any failure to safeguard and limit access to ELECTIONS
files as required herein.

2,12 Notification of Material Changes to Services. Each party shall be required to notify the
other of any planned material changes in the security or functionality of any dependent services
with sufficient time for the parties to discuss any security/technical/functional considerations
and/or changes.


                                          Article3
                                Data Extraction File Transfen

3.1 Provide Information. OMV agrees to provide ELECTIONS with the following data
extractions:

1) Daily, OMV will provide to ELECTIONS an electronic file, which includes those customers
   for whom OMV recorded (I) a NO answer to the citizenship question posed for voter
   registration purposes or (2) legal presence documents indicating non-citizenship status during
   the business day. The NO answers will include customers who certify that they are not
   citizens in connection with an application for a driver or idmtification privilege card;
   however, in accordance with Code of Virginia§§ 46.2-328.3 and 46.2-345.3, DMV will not
   identify to ELECTIONS which customers hold privilege cards.

2) On or about the 10th day of each calendar month, OMV will provide to ELECTIONS an
   electronic file, which includes those customers for whom OMV recorded ( 1) an in-state or
   out-of-state address change or (2) an out-of-state surrender oflicense.

3) On or about the t ()lh day of each calendar month, DMV will provide ELECTIONS an
   electronic file, which includes data from each OMV customer record.

3.2 Data Format. OMV will provide ELECTIONS with the above-specified data using the file
layout and transmission protocols determined and agreed to by information technology personnel
of the two agencies; the file layout and transmission protocols may be revised and/or adjusted
over time as the agencies' persoMel deem appropriate without the necessity of a new MOU.


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Such revisions or adjustments must be agreed upon in writing by both agencies. The written
documentation will not become an amendment to this MOU unless requested by either party.

3.3 Costs. ELECTIONS will reimburse DMV for the costs of providing data in accordance with
Article 3 of this MOU at the rate ofS600 per month. Using automated monthly billing, DMV
will invoice ELECTIONS on a monthly basis following the successful and timely transmission
of the data required by this MOU. ELECTIONS will remit the invoice fee in accordance with the
standards set forth in the relevant CAPP topics.


                                            Article 4
                           Transfer of Customer Data Punuant to the
                                National Voter Registration Act

4.1 Purpose. Pursuant to the requirements of the National Voter Registration Act, 52 U.S.C. §§
20501, et seq.; the Help America Vote Act of 2002, 52 U.S.C. §§ 20901, et seq.; and Title 24.2,
Article 4, of the Code of Virginia, DMV provides customers conducting qualifying transactions
the opportunity to apply to register or to update their voter information with ELECTIONS. DMV
serves as a pass-through agency by collecting infonnation from the customer and transferring the
data to ELECTIONS, tosether with the identifying infonnation from the customer's DMV
record. This transfer of customer responses and customer record data is referred to as a "motor
voter transaction.'' Customers present in a DMV customer service center will be presented with
questions to complete the motor voter transaction on the credit card tenninat located at the
customer service window. Customers conducting online OMV transactions will be presented
with questions to complete the motor voter transaction within their online DMV transaction.

Qualifying Transactions:

   •   Original Driver's License/Commercial Driver's License Issuance
   •   Driver's License/Commercial Driver's License Renewal
   •   Driver's License/Commercial Driver's License Replacement
   •   Original Identification Card Issuance
   •   Identification Card Renewal
   •   Identification Card Replacement
   •   Change ofAddress associated with Driver's License/Commercial Driver's License or
       Identification Card

Non-Qualifying Transactions:

   •   Driver Privilege Card Issuance or Replacement, pursuant to Code of Virginia§ 46.2-
       328.3
   •   Identification Privilege Card Issuance or Replacement, pursuant to Code of Virginia§
       46.2-345.3
   •   Change of Address for a customer who only owns a vehicle



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4,3 AU Customers. All customers will be informed that, if they are eligible, they will be
registered to vote or have their voter registration information updated unless they decline. If the
customer declines, the motor voter transaction will be concluded.
        A. Application to Apply to Register to Vote

The customer will be asked if he or she is a citizen and will have the option to decline to have
their information transmitted to ELECTIONS for voter registration purposes. If the customer
does not decline to have their information transmitted and they have affmned that they are a
citizen, the customer will then be presented with a series of questions to collect the information
needed to transmit the voter application to ELECTIONS. The language of the questions and the
order in which the questions are presented for infonnation needed to complete the voter
application process are within ELECTIONS' discretion. The language of questions collecting
information needed only for the DMV transaction is at DMV's discretion. The parties shalt
consult and attempt to agree on all language and worktlow for the motor voter process. The
language of the questions, including any translations thereof, presented in a motor voter
transaction may be changed by written agreement of the parties without the need to amend this
MOU.

        B. Registered voters

Registered voters will be presented with one additional screen not seen by unregistered voters.
The screen will display the customer•s current voter registration information with ELECTIONS
and state that, if the infonnation is incorrect, it may be changed.

        C. Non-consents

When the customer responds negatively to certain questions or prompts, the Registration Type is
Non-Consent.

4.4 Transaction Confirmation. A confinnation record of each of the above-named transactions
will be retained by DMV in accordance with established records retention policies.

4.5 Print-on-demand transactions. Customers who are unable or unwilling to complete the
motor voter transaction on the credit card terminal available in a customer service center will be
provided a print-on-demand fonn. OMV will prepopulate the fonn with the customer's
information found on the DMV record. The customer will be given the opportunity to complete
the form while present in the OMV and return the fonn to the DMV customer service
representative. DMV wil1 collect all forms and mail them on a daily basis to ELBCTlONS.

4.6 Overnight batch. DMV offers customers the opportunity to change an address, renew or
replace a driver's license, and renew or replace an identification card, by mailing a paper form to
OMV headquarters. To comply with the requirement to offer a motor voter transaction to these
customers, DMV will send a paper application prepopulated with the customer record
iofonnation to the customer through an overnight batch process. Customers will be directed to
return the form to ELECTIONS by mail.
        4.7 Lack of social security number on DMV customer record. Prior to transmitting an
        electronic motor voter customer transaction, the OMV system will check the customer record to
        detennine if the customer has a social security number on file. If the check determines no social
        security number is present, the motor voter transaction will be held until the end of the day, when
        the system will check the customer record a second time. If a social security number is present,
        the number will be transmitted with the customer record information and responses to the motor
        voter questions to ELECTIONS at that time. If the customer still docs not have a social security
        number on file at the end of the day, the customer will be sent a paper application in accordance
        with the batch process in Article 4.6.

        4.8 Data Retentioa. OMV will maintain all properties related to the submission of the customer
        transaction pennanently. The data submitted pursuant to Articles 4.3 and 4.4 will be considered a
        copy once ELECTIONS has confirmed receipt and will be maintained by OMV only so long as
        administratively useful.


                                              Article 5
                        ELECTIONS' Access to Relevant DMV Information Systems

        S.1 Provide Access. DMV shall provide read-only access to relevant OMV information systems
        to authorized ELECTIONS users, as set forth in Article 5.2. Read-only access to relevant DMV
        infonnation systems is intended to provide ELECTIONS with information to research voter
        registration and verify customer responses in relation to the voter registration process.

        5.2 ELECTIONS Users. ELECTIONS will provide a log of all authorized users to relevant
        DMV information systems to OMV and keep the log updated with personnel changes. The
        parties will agree upon a schedule for adding or deleting authorized users as required to provide
        sufficient support for elections scheduled throughout the calendar year.

        5.3 Operations Maintenance Windows. OMV will make every effort to ensure applicable
        systems and services are accessible; however, DMV systems and services may not be available
        during required, scheduled OMV or Commonwealth maintenance windows, including, but not
        limited to, the Virginia Information Technology Agency's Wednesday and Sunday evening
        windows.

        S.4 Election-related Freeze Periods. OMV will make every effort to comply with the change
        freeze periods around scheduled elections. IfOMV detennines that a required change is critical
        to DMV security or operational requirements and must be made during a freeze period, OMV
        will take all necessary precautions to limit negative impacts to ELECTIONS' services and will
        notify ELECTIONS of any potential impacts prior to implementation, if feasible.




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                                                      Article 6
                                             Digital Signature Service

          6.1 Purpose. ELECTIONS must obtain a customer signature to complete any electronic DMV
          or ELECTIONS' voting-related transaction initiated by the customer. Pursuant to Code of
          Virginia§ 24.2-416.7, OMV shall provide ELECTIONS with a digital copy of an applicant's
          signature on record with DMV.

          6.2 Information Provided by ELECTIONS. For each transaction conducted under Article 6,
          ELECTIONS sends applicable data to OMV.

          6,3 Information Provided Jn Return to ELECTIONS. OMV provides applicable data in
          response to a customer submission from ELECTIONS conducted under Article 6:

          6.4 Data Format. The above-specified data wm be transferred using the transmission protocols
          detennined and agreed to by information technology personnel of the two agencies; the
          transmission protocols may be revised and/or adjusted over time as the agencies' personnel deem
          appropriate without the necessity of a new MOU. Such revisions or adjustments must be agreed
          upon in writing by both agencies. The written documentation will not become an amendment to
          this MOU unless requested by either party.


                                                    Article 7
                                    0nllne Verification against DMV records

          7.1 Purpose. DMV will assist ELECTIONS in verifying the identity of customers seeking to
          register to vote by direct contact with ELECTIONS.

          7.2 Information Provided by ELECTIONS. For each transaction. ELECTIONS sends the
          applicable data to DMV.

          7.3 Information Provided In return to ELECTIONS. OMV will attempt to make an exact
          match to customer data on record. If an identical match is found, ELECTIONS will be notified
          that a match has been found. If the data is not an identical match to OMV data in any respect,
          ELECTIONS will be notified that an identical match has not been found.

          7.4 Data Format. The above-specified data will be transferred using the transmission protocols
          detcnnined and agreed to by information technology personnel of the two agencies; the
          transmission protocols may be revised and/or adjusted over time as the agencies• personnel deem
          appropriate without the necessity of a new MOU. Such revisions or adjustments must be agreed
          upon in writing by both agencies. The written documentation will not become an amendment to
          this MOU unless requested by either party.




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                                        Artlele 8
                                 ELECTIONS' Responsibilities

8.1 Use of DMV Information. ELECTIONS will use DMV infonnation for the purposes of
voter registration as required by Chapter 4 of Title 24.2 of the Code of Virginia. Except as
provided in Va. Code§§ 24.2-404 and 24.2-444, ELECTIONS shall not make DMV infomation
available to the public and sha11 not provide such information to any third party.

8.2 Confidentiallty and Privacy of Information. ELECTIONS acknowledges and agrees that
any infonnation obtained pursuant to this MOU is considered personal and confidential and is
subject to and governed by the restrictions upon access, use and/or dissemination of such
infonnation set forth in state and/or federal laws and regulations. ELECTIONS agrees, without
reservation or qualification, that it and its employees, agents, and/or authorized users shall
comply with and be subject to all applicable laws and regulations. whether federal or state, in
connection with any receipt and use of OMV data received pursuant to this MOU including, but
not limited to, (1) the Federal Drivers Privacy Protection Act (18 U.S.C. §§ 2721, et seq.), {2) the
Government Data Collection and Dissemination Practices Act (Va. Code §§ 2.2.3800, et seq.),
(3) the Virginia Computer Crimes Act (Va. Code§§ 18.2-152.1, et seq.), {4) the provisions of
Va. Code§§ 46.2-208 and 58.1-3, and (5) any successor rules, regulations, or guidelines adopted
by OMV with regard to disclosure or dissemination ofany infonnation obtained from OMV
records or files. ELECTlONS agrees to comply with such restrictions and to make all employees,
agents, and authorized users of ELECTIONS aware of such provision and of their duties and
obligations thereunder.

8.3 Monitoring Use of Information. ELECTIONS agrees to monitor all use of the infonnation
obtained from DMV and to immediately report to OMV any incidents of non-compliance with
federal or state laws and regulations, non-compliance with this MOU, or misuse ofinfonnation
provided under this MOU by any person or entity.

8.4 Limitation on Use. Distribution of privileged information, as described at Va. Code§ 46.2-
208, to any third party other than elections officials in order to carry out their official functions
under Title 24.2 of the Code of Virginia is prohibited. ELECTIONS certifies, by execution of
this MOU, that the information obtained under this MOU will not be used for civil immigration
purposes or knowingly disseminated to any third party for any purpose related to civil
immigration enforcement.

8.S Antivirus and Security Patch Requirements. ELECTIONS understands and agrees that
each electronic device used to access the OMV System must:

    a) Have commercially available Antivirus software installed and actively running on the
       device, and that the Antivirus software must be maintained with up-to-date virus
       definitions; and

    b) Have the latest approved operating·system security patches installed on the device, and
       that the operating system must be maintained with up-to-date security patches.
8.6 Security Requirements. ELECTIONS shall, at its own expense, comply with and maintain
compliance with all Commonwealth of Virginia IT security policies, standards, and guidelines,
including any revisions, amendments, and/or successors thereto. ELECTIONS also shalt, at its
own expense, comply with and maintain compliance with the OMV JT Architecture and Security
Documents, as may be amended from time to time.

Copies of the current Commonwealth of Virginia IT security policies, standards, and guidelines
are available on the VITA Website at
http://www,vita,virginja.gov/library/default,aspx?id-537#securityPSGs.

Copies of the most recent OMV IT Architecture and Security Doc::uments are available on the
OMV Website at
https;//www.dmv.virginia.gov/sites/default/fites/documents/DMV%20Security%20%26amp%3B
%20Risk%20Management%20Policv%202.1 .pdf.

ELECTIONS will be responsible for reviewing these websites for revisions, updates and/or
modifications at least once every six months.

8.7 Audit. OMV reserves the right to audit ELECTIONS to confinn compliance with all
requirements in this MOU. ELECTIONS shall provide OMV with full access to and the
opportunity to ex.amine any electronic devices, records and/or other materials necessary to
perfonning such audits, except any such records and/or other materials that are privileged or
confidential. Similarly, ELECTIONS reserves the right to audit OMV to confinn compliance
with all requirements in this MOU. OMV shall provide ELECTIONS with full access to and the
opportunity to ex.amine any electronic devices, records and/or other materials necessary to
perfonning such audits, except any such records and/or other materials that are privileged or
confidential.


        IN WITNESS WHEREOF, the Parties hereto have caused this MOU to be duly
executed by their authorized representatives intending to be bound by the terms and conditions
herein set forth.

    Virginia Department of Motor Vehicles               Virginia Department of Elections




Date:                                               0a1e,
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                    MEMORANDUM OF UNDERSTANDING
          BETWEEN THE VIRGINIA DEPARTMENT OF MOTOR VEHICLES
              AND THE VIRGINIA DEPARTMENT OF ELECTIONS


       This Memorandum of Understanding (MOU) is made and entered into by and between
the Virginia Department of Motor Vehicles ("OMV") and the Virginia Department of Elections
("ELECTIONS"). The MOU effective date is established by the date of execution.


                                           Article 1
                                   Introduction and Purpose

         The primary purpose of this MOU is to establish the tenns and conditions under which,
pursuant to Code of Virginia§§ 46.2-208(8)(9) and 46.2-208. l, DMV will provide certain data
and electronic access to data to ELECTIONS, which requires this data in the conduct of its
officia1 duties, and the terms and conditions under which ELECTIONS will receive, use, and
protect the data provided to it by DMV. This MOU wilJ cover the following five data transfers:

   A. Monthly Data Extraction File Transfers
   8. Data Transferred Pursuant to the Nationa1 Voter Registration Act
   C. ELECTIONS Access to OnBase
   D. Digital Signature Service
   E. VERIS verification against OMV records

                                           Ardcle 2
                                       General Provisions

2.1 Term. This MOU will commence upon the execution by both parties and will continue in
effect until modified, amended, or tenninated.

2.2 Termination. Either party may terminate this MOU at any time for any reason.
Notwithstanding the foregoing, the parties agree that, to the extent reasonable, 30 days' notice of
intent to terminate this MOU will be provided to the other party.

2.3 Amendment or Modification of MOU. This MOU constitutes the entire agreement
between DMV and ELECTIONS. This MOU may be modified or amended as necessary upon
the mutual written agreement signed and dated by both parties. AIJ modifications and
amendments shall be incorporated and made a part of the MOU as if attached hereto. This MOU
supersedes and replaces the MOU entered into by the Parties in 2014. This MOU has no effect
on Use Agreement Number 9925, entered into by the Parties for the purpose of providing
ELECTIONS with access to the CSS system.

2.4 Relationship of the Parties. The parties shall meet and confer at any time upon the request
of either party to address issues arising under this MOU.
l.S Party Contacts. The parties identify the following individuals as their points of contact for
operational, administrative, and/or performance questions, concerns or issues, and as their
representatives to receive notice under this MOU:

       For OMV:                                       For ELECTIONS:

       Saundra Mastro Jack                            Chris Piper
       Director of Data Management Services           Commissioner
       Department of Motor Vehicles                   Department of Elections
       (804) 864-6714                                 (804) 864-8903
       Saundra.Jack@dmv.virginia.gov                  Chris.Piper@elections.virginia.gov
       2300 West Broad Street                         I 100 Bank Street, l" Floor
       P.O. Box 27412                                 Richmond, VA 23219
       Richmond, Virginia 23269


2.6 Notice. Any notice required or permitted to be given under the MOU sha11 be in writing and
sh.all be deemed to have been sufficiently given if delivered in person, if provided by email to the
person designated by each party to receive notice by email, or if deposited in the U.S. mail,
postage prepaid, for mailing by first class. registered, certified mail, or overnight courier service
addressed the individual and at the address provided by each party. The parties may change the
individual identified in the preceding section to receive notice or any of the contact infonnation
by giving the other party notice of such change in accordance with this provision. The parties
agree that, should the designated person cease to be the appropriate representative, such party
shall appoint a new contact and notify the other party within five (5) business days of change.

l.7 Titles and Headings. Titles and headings arc inserted for convenience only and shall not be
used to interpret this MOU.

2.8 Governing Law. This MOU shall be governed by and interpreted in accordance with the
laws of the Commonwealth of Virginia and of the United States. If necessary, any disputes
which arise out of the MOU shall be tried by a court of competent jurisdiction located in the
Commonwealth of Virginia


                                              Article 3
                            Monthly Data Extraction File Transfers

3.1 Provide Information. DMV agrees to provide ELECTIONS with two (2) data extractions
per month, as follows:

1) On or about the 10"' day of each calendar month, DMV will provide to ELECTIONS an
   electronic file, which includes those customers for whom OMV recorded (I) an in-state
   address change, (2) an out-of-state surrender of license, or (3) a NO answer to the citizenship
   question posed for voter registration purposes.



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   (a) Each customer record included in this file will be identified by the type of transaction, as
       follows:
       • A = Address change
       • S = License surrender
       • N = Non-citizen
       • P = Paper

          Any record identified with an "N" wiJI also include the date of the declaration.

   (b) This electronic file will include the following data from each DMV customer record
       included based on one or more of the criteria identified in the preceding paragraph (a):
       • Full name
       • Sex
       • Social Security Number
       • DMV Customer Number
       • Date of Birth
       • Residence street address, locality, state, and zip code
       • Mailing address, city, state, zip

2) On or about the IO'h day of each calendar month, DMV will provide to ELECTIONS an
   electronic file, which includes the following data from each DMV customer record:
       • Lastname
       • First name
       • Middle name
       • Name suffix
       • Gender
       • Social Security Number
       • DMV Customer Number
       • Inventory Control Number
       • Date of Birth (yyyy-mrn-dd format)
       • Residence address line 1 (street number and name)
       • Residence address line 2
       • Residence address line 3
       • Residence address locality
       • Residence address state
       • Residence address zip code
       • Date residence address first reported to OMV
       • Mailing address line 1 (street number and name)
       • Mailing address line 2
       • Mailing address line 3
       • Mailing address locality
       • Mailing address state
       • Mailing address zip code
       • Date mailing address first reported to DMV


                                                 3
       •   Documentation used to verify legal presence

3.2 Data Format. DMV will provide ELECTIONS with the above-specified data using the file
layout and transmission protocols detennined and agreed to by information technology personnel
of the two agencies; the file layout and transmission protocols may be revised and/or adjusted
over time as the agencies' personnel deem appropriate without the necessity of a new MOU.
Such revisions or adjustments must be agreed upon in writing by both agencies. The written
documentation wiJI not become an amendment to this MOU unless requested by either party.

3.3 Modification to Data Fields or File Frequency. Any addition or deletion of data fields
included in the file and any change to the frequency with which DMV sends the file to
ELECTIONS must be agreed upon in writing. The parties may amend this agreement to reflect
the change in accordance with Article 2.3 or may attach the written documentation as an
amendment to this MOU.

3.4 Costs. ELECTIONS will reimburse DMV for the costs of providing data in accordance with
Article 3 of this MOU at the rate of$600 per month. Using automated monthly billing, OMV
will invoice ELECTIONS on a monthly basis following the successful and timely transmission
of the data required by this MOU. ELECTIONS will remit the invoice fee in accordance with
the standards set forth in CARS.


                                          Article 4
                         Transfer of Customer Data Pursuant to the
                              National Voter Registration Act

4.1 Purpose. Pursuant to the requirements of the National Voter Registration Act, 52 U.S.C. §
20501, et seq.; the Help America Vote Act of 2002, Pub. L. No. 107-252, 116 Stat. 1666; and
Title 24.2, Article 4, of the Code of Virginia, DMV provides customers conducting qualifying
transactions the opportunity to apply to register or to update their voter information with
ELECTIONS. DMV serves as a pass-through agency by collecting information from the
customer and transferring the data to ELECTIONS, together with the identifying information
from the customer's DMV record. This transfer of customer responses and customer record data
is referred to as a "motor voter transaction." Customers present in a DMV customer service
center will be presented with questions to complete the motor voter transaction on the credit card
terminal located at the customer service window. Customers conducting online DMV
transactions will be presented with questions to complete the motor voter transaction within their
online DMV transaction. The opportunity to complete a motor voter transaction is offered to
each customer conducting one of the following OMV transactions:

   •   Original Driver's License Issuance
   •   Driver's License Renewal
   •   Driver's License Replacement
   •   Original Identification Card Issuance
   •   Identification Card Renewal
   •   Identification Card Replacement

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    •   Change of Address

4.2 Electronic Motor Voter Transactions. Once OMV detennines a customer is conducting a
motor voter eligible transaction, OMV sends the following data fields to confirm whether the
customer is already registered to vote:

    •   Sending Agency: DMVWeb or lnPerson
    •   Customer Last Name
    •   Customer First Name
    •   Customer SSN
    •   Customer Date of Birth
    •   Locality Name

ELECTIONS will return to OMV:

   •    IsProtected: returns true if registered voter customer is protected
   •    lsRegisteredVoter: returns true if customer is a registered voter
   •    VoterID: ELECTIONS Voter ID associated with the registered voter
   •    Transaction Timestamp: DateTimeStamp when voter confirmation request submitted by
        OMV was processed by ELECTIONS

4.3 All Customers. All customers will be informed that, if they are eligible, they will be
registered to vote or have their voter registration infonnation updated unless they decline. If the
customer responds in the negative, the motor voter transaction will be concluded. DMV will
transmit the following data fields to ELECTIONS:

For a negative response, one of the folJowing Non Consent Reasons will be sent:

   •    DeclineVoterRecordUpdate -Customer is a registered voter and answers "No"
   •    DectineRegisterToVote- Customer is not registered voter and answers "No"

        A. Citizenship

Customers who do not decline will be asked whether they are a United States citizen. If the
customer responds in the negative, the customer will be asked to confirm their answer. If the
negative response is confirmed. the motor voter transaction will be concluded. OMV will
transmit the following data fields to ELECTIONS:

   •    Sending Agency
   •    Location
   •    Customer Last Name
   •    Customer First Name
   •    Customer Gender
   •    Customer DOB
   •    Customer SSN

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   •    Voter Non Consent Reason (NotUSCitizen)
   •    Customer DL Number
   •    Voter Consent Given (always assigned false when customer agrees to one of the Voter
        Non Consent reasons)

ELECTIONS will return to OMV:

   •    Transaction ID : ELECTIONS ID created and associated with the OMV request

         B. Application to Apply to Register to Vote

Jf a customer responds affinnatively to the question to apply to register or update voter
registration information, the customer will be asked if he or she is a citizen. If the customer
responds affirmatively, the customer will then be presented with a series of questions to collect
the information needed to transmit the voter application to ELECTIONS. The language of the
questions and the order in which the questions are presented for infonnation needed to complete
the voter application process are within ELECTIONS' discretion. The language of questions
collecting information needed only for the OMV transaction is at DMV's discretion. The parties
shall consult and attempt to agree on all language and work flow for the motor voter process.
The language of the questions presented in a motor voter transaction may be changed by written
agreement of the parties without the need to amend this MOU.

For transactions in which customers respond that they do wish to apply to register to vote or
update their voter registration information, OMV will transmit the following data fields to
ELECTIONS:

    •   Voter Submission Id
    •   Voter Id
    •   Sending Agency
    •   Location
    •   Sending Agency Time Stamp
    •   Is US Citizen
    •   Voter Consent Given
    •   Last Name
    •   First Name
    •   Middle Name
    •   Suffix.
    •   Previous Last Name
    •   Previous First Name
    •   Previous Middle Name
    •   Previous Name Suffix.
    •   Gender
    •   DOB
    •   SSN
    •   Driver License Number

                                                 6
   •   Email Address
   •   Phone Number
   •   Residence Address Line I
   •   Residence Address Line2
   •   Residence Address City
   •   Residence Address State
   •   Residence Address Zipcode
   •   Residence Address Locality
   •   Mailing Address Line I
   •   Mailing Address Line2
   •   Mailing Address City
   •   Mailing Address State
   •   Mailing Address Zipcode
   •   Mailing Address Locality
   •   Accept Warning Statement
   •   Accept Privacy Notice
   •   Is Prohibited
   •   ls Rights Restored
   •   Is Mi1itary
   •   Is Protected
   •   ls Law Enforcement
   •   Is Court Protected
   •   Is Confidentiality Program
   •   Is Being Stalked
   •   ls Foster Parent
   •   Is Registered In Another State
   •   Non VA Registered State
   •   Register To Vote Confirmation
   •   Voter Non Consent Reason

        C. Registered voters

Registered voters will be presented with one additional screen not seen by unregistered voters.
The screen will display the customer's current voter registration infonnation with ELECTIONS
and state that if the infonnation is incorrect it may be changed in the following screens. The
following data fields will be presented to the customer:

   •   Name
   •   Residence/Street
       Military Status

        D. Non-consents




                                               '
DMV transmits the entire list of data fields listed above; however, when the customer responds
negatively to certain questions or prompts, the Registration Type is Non-Consent. The
questions/prompts and corresponding non-consent reasons are:

   •   All customers:
           o IncorrectCustomerlnformation - The customer answers "No" when asked if the
              address information that will be sent to ELECTIONS is correct.
           o RequestPrintedApplication - If the customer is unable to or elects not complete an
               EMV transaction, a paper application is printed (RequestedPrintedApplication)
   •   Customers not registered to vote:
           o DeclineWamingStatement - The customer chooses "End" on Warning message
           o DeclinePrivacyStatement - The customer chooses "End" on Privacy message
           o DeclineAffirmationStatement - The customer chooses "Decline" when prompted
               to confirm all infonnation provided is true.
           o ConfirmDeclineAffirrnationStatement - The customer confirms choice to decline
               affinnation is correct.
           o NoResponseToCitizenQuestion - The customer answers "No Response" to
               citizenship question.
   •   Customers currently registered to vote:
           o RegisteredNotUSCitizen - The customer answers "No" to citizenship question.
           o RegisteredNoReponscToCitizenQuestion - The customer answers "No Response"
               to citizenship question.
           o RegisteredDeclineWarningStatement - The customer chooses "End" on Warning
               message.
           o RegisteredDeclinePrivacyStatement - The customer chooses "End" on Privacy
               message.
           o RegisteredDeclineAffirmationStatement - The customer chooses "Decline" when
               prompted to confinn all information provided is true and he/she authorizes
               cancelation of current registration.
           o RegisteredConfinnDeclineAffirmationStatement - The customer confirms choice
               to decline affirmation is correct.

When the Registration Type is Non-Consent, only the following columns in the Voter
Registration record are app1icable:

   •   Voter Registration Id
   •   Voter Submission Id
   •   Sending Agency
   •   Location
   •   Sending Agency Time Stamp
   •   LastName
   •   First Name
   •   Gender
   •   DOB
   •   SSN
   •   Voter Non Consent Reason

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   •   Driver License Number
   •   Create Date
   •   Submitted Date
   •   Registration Type

4.4 Print on demand transactions. Customers who are unable or unwilling to complete the
motor voter transaction on the credit card tenninal available in a customer service center will be
provided a print on demand form. DMV will prepopulate the form with the customer's
information found on the OMV record. The customer will be given the opportunity to complete
the form while present in the DMV and return the fonn to the DMV customer service
representative. DMV will collect all forms and mail them on a daily basis to the Department of
General Services (DGS).

4.5 Overnight batch. OMV offers customers the opportunity to change an address, renew or
replace a driver's license, and renew or replace an identification card, by mailing a paper fonn to
DMV headquarters. To comply with the requirement to offer a motor voter transaction to these
customers, DMV will send a paper application prepopulated with the customer record
information to the customer through an overnight batch process. Customers will be directed to
return the form to ELECTIONS by mail.

4.6 Lack of social security number on OMV customer record. Prior to transmitting an
electronic motor voter customer transaction, the DMV system will check the customer record to
detennine if the customer has a social security number on file. If the check detennines no social
security number is present, the motor voter transaction will be held until the end of the day, when
the system will check the customer record a second time. If a social security number is present,
the number will be transmitted with the customer record information and responses to the motor
voter questions to ELECTIONS at that time. If the customer still does not have a social security
number on file at the end of the day, the customer will be sent a paper application in accordance
with the batch process in Section 4.5

4.7 Modification to Data Fields and Services. Any addition, deletion or significant
modification of data fields or services included in this data exchange must be agreed upon in
writing. The parties may amend this agreement to reflect the change in accordance with Article
2.3 or may attach the written documentation as an amendment to this MOU.

Once OMV and ELECTIONS reach agreement on changes, development, testing and
implementation will follow software development lifecycle and change control processes as
governed by OMV and COV policies.

OMV is a pass-through for collecting customer infonnation, and ELECTIONS is responsible for
ensuring that tl1e data received meets the agreed upon requirements in a timely manner in both
test and production environments.
                                        Article 5
                                ELECTION's Access to OnBase

5.1 Provide Access. OMV shall provide read-only access to OnBase to identified ELECTIONS
users in order for ELECTIONS to research voter registration information and verify customer
responses in relation to the voter registration process. ELECTIONS will be given access to
document types Driver's License, ID Card, and Address Change.

S.2 ELECTIONS Users. ELECTIONS will provide a log of all authorized users to OnBase to
DMV and keep the log updated with personnel changes. The parties will agree upon a schedule
for adding or deleting authorized users as required to provide sufficient support for elections
scheduled throughout the calendar year.

                                            Article 6
                                   Digital Signature Service

6.1 Purpose. For transactions relating to voting initiated by the customer either through OMV
or ELECTIONS' electronic means, ELECTIONS must obtain a customer signature to complete
the transaction. Pursuant to Va. Code§ 24.2-416.7, OMV shall provide ELECTIONS with a
digital copy of an applicant's signature on record with OMV.

6,2 Information Provided by ELECTIONS. For each transaction, ELECTIONS sends to
DMV the following customer data fields:

   •   Customer number
   •   Social security number
   •   Date of Birth

6.3 Information Provided in Return to ELECTIONS. OMV provides the following data
fields in response to a customer submission from ELECTIONS:

   •   Residence Address Street Line 1
   •   Residence Address Street Line 2
   •   Residence Address City
   •   Residence Address State
   •   Residence Address Zip
   •   Residence Address Country
   •   Mailing Address Street Line 1
   •   Mailing Address Street Line 2
   •   Mailing Address City
   •   Mailing Address State
   •   Mailing Address Zip
   •   Mailing Address Country
   •   Mailing Address Jurisdiction



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   •   Valid Customer Number (Y/N indicator on whether Customer number found on Host
       file)
   •   Valid SSN (Y /N indicator on whether SSN provided by SBE matched Host)
   •   Valid DOB (Y/N indicator on whether DOB provided by SBE matched Host)
   •   Process Indicator (Y/N indicator on whether request was processed successfully)
   •   License Type
   •   Customer Digital Signature from CBN

6.4 Data Format. The above-specified data will be transferred using the transmission protocols
determined and agreed to by information technology personnel of the two agencies~ the
transmission protocols may be revised and/or adjusted over time as the agencies' personnel deem
appropriate without the necessity of a new MOU. Such revisions or adjustments must be agreed
upon in writing by both agencies. The written documentation will not become an amendment to
this MOU unless requested by either party.

6.S Modification to Data Fields and Services. Any addition, deletion or significant alteration
of data fields or services included in this data exchange must be agreed upon in writing. The
parties may amend this agreement to reflect the change in accordance with Article 2.3 or may
attach the written documentation as an amendment to this MOU.

Once OMV and ELECTIONS reach agreement on changes, development, testing and
implementation will follow software development lifecycle and change control processes as
governed by DMV and COV policies.

DMV is a pass-through for collecting customer information, and ELECTIONS is responsible for
ensuring that the data received meets the agreed upon requirements in a timely manner in both
test and production environments.

                                         Article 7
                          VERIS Verification against DMV records

7.1 Purpose. To allow ELECTIONS to verify the identity of customers seeking to register to
vote by direct contact with ELECTIONS.

7.2 Information Provided by ELECTIONS. For each transaction. ELECTIONS sends to
OMV the following data elements:

   •   First name
   •   Middle name
   •   Lastname
   •   Suffix
   •   Date of birth
   •   Social security number

7.3 Information Provided in return to ELECTIONS. DMV makes a first attempt to match
the social security number provided by ELECTIONS with DMV's customer records. If the

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social security number is found, OMV then compares the additional data elements for an exact
match on first name, last name and date of birth. If all of the fields are an identical match, DMV
returns the Match Indicator as 'Y.' If any of the data fields do not match, DMV returns the
Match Indicator as 'N.'

If DMV's records do not contain a customer with the social security number provided by
ELECTIONS, OMV attempts to search for the customer by Name. lf OMV finds a match for the
customer name in OMV's records, OMV then compares of first name, last name and Date of
Birth with the information provided by ELECTIONS. If all three data elements match exactly the
information ELECTIONS sent, DMV returns the Match Indicator as 'Y'. If any of the fields do
not match, OMV returns an 'N' in the Match Indicator.

7.4 Data Format. The above-specified data wil1 be transferred using the transmission protocols
determined and agreed to by information technology personnel of the two agencies; the
transmission protocols may be revised and/or adjusted over time as the agencies' personnel deem
appropriate without the necessity of a new MOU. Such revisions or adjustments must be agreed
upon in writing by both agencies. The written documentation will not become an amendment to
this MOU unless requested by either party.

7.5 Modification to Data Fields. Any addition or deletion of data fields included in this data
exchange must be agreed upon in writing. The parties may amend this agreement to reflect the
change in accordance with Article 2.3 or may attach the written documentation as an amendment
to this MOU.


                                        Article 8
                                 ELECTIONS' Responsibilities

8.1 Use of DMV information. ELECTIONS will use DMV information for the purposes of
voter registration as required by Chapter 4 of Title 24.2 of the Code of Virginia. Except as
provided in Virginia Code §§ 24.2-404 and 24.2-444, ELECTIONS shall not make OMV
information available to the public and shall not provide such information to any third party.

8.2 Confidentiality and Privacy of Information. ELECTIONS acknowledges and agrees that
any information obtained pursuant to this MOU is considered personal and confidential and is
subject to and governed by the restrictions upon access, use and/or dissemination of such
information set forth in state and/or federal laws and regulations. ELECTIONS agrees, without
reservation or qualification, that it and its employees, agents, and/or authorized users shall
comply with and be subject to all applicable laws and regulations, whether federal or state, in
connection with any the receipt and use ofDMV data received pursuant to this MOU including,
but not limited to, (1) the Federal Drivers Privacy Protection Act (18 U.S.C. § 2721 et seq.), (2)
the Government Data Collection and Dissemination Practices Act ( Va. Code§ 2.2-3800 et seq.),
(3) the Virginia Computer Crimes Act (Va. Code§ 18.2-152.1 et seq.), (4) the provisions of Va.
Code§§ 46.2-208 and 58.1-3, and (5) any successor rules, regulations, or guidelines adopted by
DMV with regard to disclosure or dissemination of any information obtained from DMV records
or files. ELECTIONS agrees to comply with such restrictions and to make all employees,


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agents, and authorized users of ELECTIONS aware of such provision and of their duties and
obligations thereunder.

8.3 Monitoring Use oflnformation. ELECTIONS agrees to monitor all use of the information
obtained from OMV and to immediately report to OMV any incidents of non-compliance with
federal or state laws and regulations, non-compliance with this MOU, or misuse of infonnation
provided under this MOU by any person or entity.

8.4 Antivirus and Security Patch Requirements. ELECTIONS understands and agrees that
each and every electronic device used to access the OMV System must:

   a) Have commercially available Antivirus software installed and actively running on the
      device, and that the Antivirus software must be maintained with up-to-date virus
      definitions; and

   b} Have the latest approved operating system security patches installed on the device, and
      that the operating system must be maintained with up-to-date security patches.

8.5 Security Requirements. ELECTIONS shall, at its own expense, comply with and maintain
compliance with all Commonwealth of Virginia IT security policies, standards, and guidelines,
including and revisions, amendments, and/or successors thereto. ELECTIONS sha11 make all
necessary modifications to comply with and maintain compliance with a11 revisions, updates,
modifications, and/or successors to such policies, standards, and guidelines at its own costs.
ELECTIONS also shall, at its own expense, comply with and maintain compliance with the
OMV IT Architecture and Security Documents, as may be amended from time to time.

Copies of the current Commonwealth of Virginia IT security policies, standards, and guidelines
are available on the VITA Website at
http://www.vita.virgini a.govilibrary/defaul I. aspx?id-5 37#securityPSGs.

Copies of the most recent OMV IT Architecrure and Security Documents are available on the
OMV Website at http://www.dmv.virginia.gov/webdoc/generaVsecurity docs.asp.

ELECTIONS will be responsible for reviewing these websites for revisions, updates and/or
modifications at least once every six months.

~.6 Audit, DMV reserves the right to audit ELECTIONS to confinn compliance with all
requirements in this MOU. ELECTIONS shall provide OMV with full access to and the
opportunity to examine any electronic devices, records and/or other materials necessary to
performing such audits, excepting any such records and/or other materials that are privileged or
confidential. Similarly, ELECTIONS reserves the right to audit OMV to confirm compliance
with all requirements in this MOU. DMV shall provide ELECTIONS with full access to and the
opportunity to examine any electronic devices, records and/or other materials necessary to
performing such audits.
8.7 ELECTIONS Liability. ELECTIONS shall be liable for any misuse or misappropriation of
any information obtained from DMV in connection with this MOU. any failure by ELECTIONS,
its employees, agents. and/or authorized users to comply with the provisions of the Federal
Driver•s Privacy Protection Act, Virginia Code§§ 46.2-208 and 58.1-3, and the Government
Data Collection and Dissemination Practices Act and for any failure to safeguard and limit
access to OMV files as required herein.

8.8 DMV Liability. DMV shall be liable for any misuse or misappropriation of any information
obtained from ELECTIONS in connection with this MOU, any failure by DMV, its employees,
agents, and/or authorized users to comply with the provisions of the Federal Driver's Privacy _
Protection Act, Virginia Code§§ 46.2-208 and 58.1-3, and the Government Data Collection and
Dissemination Practices Act and for any failure to safeguard and limit access to ELECTIONS
files as required herein.

        IN WITNESS WHEREOF, the Parties hereto have caused this MOU to be duly
executed by their authorized representatives intending to be bound by the terms and conditions
herein set forth.

    Virginia Department of Motor Vehicles               Virginia Department of Elections




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    Ri hard D. Holcomb, Commissioner


Date:




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                        MEMORANDUM OF AGREEMENT
           BETWEEN THE DEPARTMENT OF HOMELAND SECURITY,
              U.S. CITIZENSHIP AND IMMIGRATION SERVICES,
                                  AND
              THE VIRGINIA STATE BOARD OF ELECTIONS


I. PARTIES.

The parties to this Memorandum of Agreement (MOA) are the Department of Homeland
Security, U.S. Citizenship and Immigration Services (DHS-USCIS), and the Virginia
State Board of Elections (User Agency). User Agency includes Virginia county and
city general registrars responsible for maintaining voting rolls.

II. AUTHORITY.

The authorities.governing this MOA include, but are not limited to, the following:

       Immigration Reform and Control Act of 1986, Pub. L. No. 99-603, 100 Stat.
       33S9, as amended.

       Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub.
       L. No. 104-193, 110 Stat. 210S, as amended.


       Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L.
       No. 104-208, 110 Stat. 3009, as amended.

        Privacy Act, S U.S.C. § 552a, as amended.

        The Inter-Governmental Cooperation Act, 31 U.S.C. § 6501, et seq., as amended.

        The National Voter Registration Act of 1993, 42 U.S.C. § 1973gg-6, Pub. L. No.
        103-31, 107 Stat. 77, as amended.

        Help America Vote Act of 2002, 42 U.S.C. § 15483, Pub. L. No. 107-252, § 303,
        116 Stat. 1666, as amended.


        Code of Virginia§ 24.2-103(A)

        Code of Virginia § 24.2-404

        Code of Virginia§ 24.2-427



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       Code of Virginia§ 24.2-430

       1 VA. Admin. Code § 20-40-70


Pursuant to the requirements of the Office of Management and Budget (0MB) Circular
A-97, dated August 29, 1969, which establishes the
President's guidelines for implementing the Intergovernmental Cooperation Act of 1968,
31 U.S.C. Section 6S01, et seq., as amended, the User Agency certifies that it cannot
procure the immigration status verification services requested pursuant to this MOA
reasonably and expeditiously through ordinary business channels.




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III. PURPOSE.

The purpose of this MOA is to establish the terms and conditions governing the
participation of the User Agency in the DHS-USCIS Systematic Alien Verification for
Entitlements (SAVE) Program for the purpose of verifying citizenship and immigration
status information of non-citizen and naturalized or derived U.S. citizen registrants
(registrants) on the User Agency's Voting Rolls (benefit). The limited data will be
provided to the User Agency by an:

   1) Initial response (initial verification) by SAVE to an on-line inquiry of OHS records
      by the User Agency; and

   2) Additional verification procedures where applicable; or

   3) A response to a properly submitted Form G-845.

IV. RESPONSIBILITIES.

A. DHS-USCIS agrees to:

(I) Maintain and make available to the User Agency in limited part and manner
determined by DHS-USCIS after consultation with the User Agency, an immigration and
naturalized or derived citizenship status information verification system under the SAVE
Program known as the Verification Information System (VIS).

(2) Respond through VIS to properly submitted verification requests from the User
Agency by providing the limited information of an initial verification of a registrant's
citizenship and immigration status;

(3) Process and respond to properly submitted additional verification requests submitted
by the User Agency through VIS or on Form G-845. Response time may vary,
depending on DHS-USCIS workload, resources available to process additional
verification requests, and the registrant's specific circumstances;

 (4) Provide to the User Agency operating instructions necessary to use VIS so that the
 User Agency can designate Users within the agency;

 (5) Provide to the User Agency SAVE Program point of contact information for
 questions or problems regarding the User Agencyts participation in SAVE;

 (6) Provide access to training and information regarding the laws, policies, and
 procedures that govern verifying, safeguarding, using, maintaining, and disclosing certain
 citizenship and immigration status information;




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(7) Provide the User Agency access to Form G-845, and other forms and/or supplements
as appropriate, which may be reproduced and/or computer generated without prior DHS-
USCIS approval;

(8) Recover no more than its actual costs. The total estimated cost of the agreement is
specified on the attached USCIS Anticipated Collections from Non-Federal Sources
Addendum. The User Agency certifies that it has obligated at least the amount specified
on the USCIS Anticipated Collections from Non-Federal Sources Addendum to pay for
its SAVE usage. DHS-USCIS shall notify the User Agency's designated Point of Contact
(POC) in writing when the amount paid plus what is owed for unpaid usage equals 80
percent of the estimated total costs. DHS-USCIS will not provide services that would
result in the amount paid plus the amount owed for unpaid usage exceeding the amount
specified on the USCIS Anticipated Collections from Non-Federal Sources Addendum.
In this instance, DHS-USCIS will be excused from further performance of the work
 unless and until the User Agency's authorized official increases estimated total cost of
 this agreement by modification pursuant to provision VIII of this MOA;

(9) Submit invoices to the User Agency's payment office at the address specified on the
USClS Anticipated Collections from Non-Federal Sources Addendum, with a copy
furnished to the POC. DHS-USCIS may submit invoices when the work is completed or
as otherwise authorized. The High Level Identifier, tax identification number, and
associated dollar amounts will be referenced on all invoices; and

(10) Promptly initiate year-end and closeout adjustments once final costs are known.

8. User Agency agrees to:

 (1) System Use.

  (a) Provide to the SAVE Program the information the SAVE Program requires to
 respond to User Agency requests for verification of immigration or naturalized or derived
 citizenship status information, including (l) information from the registrant's
 immigration or OHS citizenship documentation, e.g.• Alien Registration, Naturalization
 Certificate or Certificate of Citizenship number, for initial automated verification. (2) as
 needed, additional information obtained from the alien's immigration or OHS citizenship
 documentation for automated additional verification, and (3) as needed, completed Forms
 0-845 and other documents and information required for manual additional verification.
 Institute additional verification for any registrant that does not verify as a naturalized or
 derived citizen on initial verification. If SAVE is unable to verify the registrant as a
 naturalized or derived citizen after conducting the second step additional verification, the
  User Agency will contact the registrant to obtain proof of citizenship in accordance with
  die provisions of this MOA, or rely upon the regaslrarit's ariesiauon of ctbzensliip. For
  manual only verification, ensure that Forms G-845 and other documents and information
  required for manual verification are provided;




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(b) Ensure that, prior to using VIS, all Users perfonning verification procedures complete
SAVE required training including: reading the SAVE Program Guide, taking the latest
version of Web tutorial(s) and maintaining a working knowledge of requirements
contained therein and in this MOA as updated;

(c) Ensure that User Agency representatives are provided with and maintain User Ids
only while they have a need to perfonn verification procedures;

(d) Ensure all Users perfonning verification procedures comply with all requirements
contained in the SAVE Program Guide, web-based tutorial, and this MOA, and updates
to these requirements;

 (e) Ensure that all Users perfonning verification procedures have contact information for
 the SAVE Program and SAVE Monitoring and Compliance;

 (t) Ensure all Users perfonn any additional verification procedures the SAVE Program
 requires and/or the registrant requests after the User Agency initiates a request for
 verification;

 (g) Use any infonnation provided by DHS-USCIS under this MOA solely for the purpose
 of determining the eligibility of persons on the User Agency's Voting Rolls and limit use
 of such infonnation in accordance with this and all other provisions of this MOA;

  (h) Comply with the requirements of the Federal Information Security Management Act
  (FISMA (PL-107-347), Title Ill, Section 301) and 0MB guidance as applicable to
. electronic storage, transport of records between agencies, and the internal processing of
  records received by either agency under the terms of this MOA;

 {i) Safeguard such information and access methods to ensure that it is not used for any
 other purpose than described in this MOA and protect its confidentiality, including
 ensuring that it is not disclosed to any unauthorized person(s) without the prior written
 consent of DHS-USCIS; 1

 G) Comply with the Privacy Act, 5 U.S.C. Section 552a, and other applicable laws,
 regulations, and policies, including but not limited to all 0MB and OHS privacy
 guidance, in conducting verification procedures pursuant to this MOA, and in
 safeguarding, maintaining, and disclosing any data provided or received pursuant to the
 MOA;

 (k) Comply with federal laws prohibiting discrimination against registrants and
 discriminatory use of the SAVE Program based upon the national origin, color, race,

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   Each registrant seeking access to infonnation regarding himself/herself may do so by submitting a written signed
 request to DHS-USCIS. Instructions for submitting such requests may be found on the Freedom of
 lnfonnation/Privacy Ac:t page ofwww.uscis.20v.



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gender, religion, or disability of the registrant, including but not limited to the National
Voter Registration Act, 42 U.S.C. l 973gg et seq., as amended; the Help America Vote
Act, 42 U.S.C. 15301 et seq., as amended; th~ Voting Rights Act, 42 U.S.C. 1973 et seq.,
as amended; and the Civil Rights Act, 42 U.S.C. 1971, 1974, as amended;

(1) Create standardized correspondence to request that a registrant provide a
Naturalization Certificate or Certificate of Citizenship to complete SAVE verification and
submit that correspondence to SAv·E for approval prior to system use;

(m) Provide all registrants who do not verify as a citizen under the terms of the MOA
with adequate written notice that their citizenship could not be verified and the
information necessary to contact DHS-USCIS (see attachment 1: Fact Sheet, which is
subject to revision and reposting on the SAVE Website and Online Resources) so that
such individuals may obtain a copy of their Naturalization Certificate or Certificate of
Citizenship or correct their records in a timely manner, if necessary;

(n) Provide all registrants who are not verified as citizens based solely or in part on the
SAVE response with the opportunity to use the User Agency's existing process to appeal
the denial or the opportunity to provide an attestation of citizenship upon which User
Agency will rely, and in any case, with the opportunity to contact DHS-USCIS to correct
their records prior to a final decision, if necessary; and

(o) Refrain from using SAVE, or assisting any person or entity, to comply with the
employment eligibility verification requirements of section 274A of the Immigration and
Nationality Act, 8 U.S.C. Section 1324a.

 (2) Monitoring and Compliance.

 (a) Provide the SAVE Program and SAVE Monitoring and Compliance with the current
 e-mail, U.S postal service address, physical address, name and telephone number of the
 User Agency authorized representative for any notifications, questions or problems that
 may arise in connection with the User Agency's participation in SAVE and with
 notification of changes in the benefit offered by the User Agency;

 (b) Notify the SAVE Program and SAVE Monitoring and Compliance immediately
 whenever there is reason to believe a violation of this MOA has occurred;

 (c) Notify the SAVE Program and SAVE Monitoring and Compliance immediately
 whenever there is reason to believe an information breach has occurred as a result of User
 Agency action or inaction pursuant to 0MB Memorandum M-07-16, "Safeguarding
 Against and Responding to the Breach of Personally Identifiable Information";

 (d) Allow SAVE Monitoring and Compliance to monitor and review all records and
 documents related to the use, abuse, misuse, fraudulent use or improper use of SAVE by
 the User Agency, including, but not limited to original registrant consent documents
 required by the Privacy Act, 5 U.S.C. Section 552a or other applicable authority;


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(e) Allow SAVE Monitoring and Compliance to conduct desk audits and/or site visits to
review User Agency's compliance with this MOA and all other SAVE-related policy,
procedures, guidance and law applicable to conducting verification and safeguarding,
maintaining, and disclosing any data provided or received pursuant to this MOA;

(t) Allow SAVE Monitoring and Compliance to perform audits of User Agency's User
Ids use and access, SAVE training records, SAVE financial records, SAVE biographical
information, system profiles and usage patterns and other relevant data;

(g) Allow SAVE Monitoring and Compliance to interview any and all User Agency
SAVE system users and any and all contact persons or other personnel within the User
Agency regarding any and all questions or problems which may arise in connection with
the User Agency's participation in SAVE;

(h) Allow SAVE Monitoring and Compliance to monitor system access and usage and to
assist SAVE users as necessary to ensure compliance with the terms of this MOA and the
SAVE Program requirements by its ~uthorized agents or designees; and

(i) Take corrective measures in a timely manner to address all lawful requirements and
recommendations on every written finding including but not limited to those of SAVE
Monitoring and Compliance regarding waste, fraud, and abuse, and discrimination or any
misuse of the system, non-compliance with the tenns, conditions and safeguards of this
MOA, SAVE Program procedures or other applicable law, regulation or policy.

(3) Reimbursement.

(a) Pay the transaction prices provided in the attached current standard billing rates,
which along with methods of payment are subject to change upon prior written
notification to the User Agency. Each year, the User Agency will obligate funds
sufficient to reimburse DHS-USCIS under a current appropriation upon execution of the
attached USCIS Anticipated Collections from Non-Federal Sources Addendum;

 (b) Pay in full within 30 days of the invoice date. The User Agency will pay any
 applicable sales, use, excise, and like taxes, where required by law, that are stated on each
 invoice. Regardless of payment type, the User Agency will clearly indicate the High
 Level Identifier with remittance;

 (c) lfthe_User Agency pre-pays for its usage, it shall submit the entire committed amount
 before being allowed access to VIS; and

 (d) Promptly discuss and resolve issues and questions with DHS-USCIS regarding
 payments. Delinquent payments shall be handled in accordance with the Debt Collection
 and Improvement Act of 1996, 31 U.S.C. Section 3701. Interest on all unpaid balances
 shall be charged at the rate of the current value of funds to the United States Treasury
 effective on the date of the invoice. The rate is the Treasury tax and loan rate. It is


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published annually or quarterly by the Secretary of the Treasury in the Federal Register
and the Treasury Fiscal Requirements Manual Bulletins. Handling charges will accrue at
monthly rates of $5.00 for each of the first two months of delinquency and $10.00 for
each month thereafter. In addition to interest and handling charges, ifDHS-USCIS does
not receive payment within 90 days of the invoice, 6% per annum additional interest will
be assessed. Charges will be computed from the date of the invoice and will accrue
monthly with the applicable interest and handling charges. In the case of any late
payment, the amount received will be applied in this sequence: (1) to any accrued penalty
and handling charges: (2) to any accrued interest; and (3) to outstanding principal.
Failure to make timely payment may result in termination of services.

V. POINTS OF CONTACT.

USCIS SAVE Program MS 2620, U.S. Citizenship and Immigration Services,
Department of Homeland Security, Washington, DC 20529-2620, (888) 464-4218,
Attn: SAVE Operations. E-mail: SAVEregistration@dhs.gov.

USCIS SAVE Monitoring and Compliance MS 2640, U.S. Citizenship and Immigration
Services, Department of Homeland Security, Washington, DC 20529-2640,
(888) 464-4218. E-mail: SAVE.monitoring@dhs.gov.

USER AGENCY- (Virginia State Board of Elections, 1100 Bank St., Washington
Building, 1st Floor, Richmond, VA 23219, (804) 864-8905,
Matthew.Davis@SBE.Virginia.gov

 VI. OTHER PROVISIONS.

 (A) MOA Responsibilities. Only authorized employees, agents, or designees ofDHS-
 USCIS and the User Agency will carry out the requirements of this MOA. In carrying
 out these responsibilities, they will operate within the scope of applicable regulations,
 specifically delegated authorities, the program authorities and funding limitations and
 terms and conditions of this MOA.

 (8) Determinina Benefit Eligibility. This MOA is limited to the provision of verification
 services. DHS-USCIS will verify limited citizenship and immigration status information,
 but will not recommend to the User Agency whether to issue the benefit. The DHS-
 USCIS response is not intended to be, and should not be construed as, an opinion on the
 part of DHS-USCIS or the United States regarding any right or benefit under any
 program administered by the User Agency. The User Agency has the responsibility to
 determine the registrant's eligibility for the benefit.

 (C} C::nminil Penalties.
 ( 1) DHS-USCIS reserves the right to use information from the User Agency for any
 purpose permitted by law, including, but not limited to, the prosecution of violations of
 Federal administrative or criminal law.

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(2) The User Agency acknowledges that the information it receives from DHS-USCIS is
governed by the Privacy Act, 5 U.S.C. Section 552a(iXl), and that any person who
obtains this information under false pretenses or uses it for any purpose other than as
provided for in this MOA may be subject to criminal penalties.


(D) Third Party Liability.

(1) Each party to this MOA shall be solely responsible for its own defense against any
claim or action by third parties arising out of or related to the execution and/or
performance of this MOA, whether civil or criminal, and retain responsibility for the
payment of any corresponding liability.

(2) Nothing in this MOA is intended, or should be construed, to create any right or
benefit, substantive or procedural, enforceable at law by any third party against the
United States, its agencies, officers, or employees or the User Agency.

(E) Disputes. Disagreements on the interpretation of the provisions of this MOA that
cannot be resolved between the DHS-USCIS program office and the User Agency point
of contact should be provided in writing to the authorized officials at both agencies for
resolution. If settlement cannot be reached at this level, the disagreement will be elevated
to the next level in accordance with DHS-USCIS procedures for final resolution.

(F) Conflicts. This MOA, its attachments and addenda constitute the full MOA on this
subject between DHS-USCIS and the User Agency. Any inconsistency or conflict
between or among the provisions of this MOA, will be resolved in the following order of
precedence: (1) this MOA and (2) other documents incorporated by reference in this
MOA,i.e., the USCIS Anticipated Collections from Non-Federal Sources Addendwn, and
standard billing rates.

 (G) Severability. Nothing in this MOA is intended to conflict with current law or
 regulation or the directives of OHS, DHS-USCIS, or the User Agency. If a term of this
 MOA is inconsistent with such authority, then that term shall be invalid but, to the extent
 allowable, the remaining terms and conditions of this MOA shall remain in full force and
 effect. In the event of a conflict that prevents either party from fulfilling its obligations,
 this MOA may be immediately canceled without providing the 30 day notice period
 referenced in Section IX.

 (H) Assignment. The User Agency may not assign this MOA, nor may it assign any of
 its rights or obligations under this MOA. To the extent allowable by law, this MOA shall
 inure to the benefit of, and be binding upon, any successors to DHS-USCIS and the User
 Agency without restriction.

 (I) Waiver. No waiver by either party of any breach of any provision of this MOA shall
 constitute a waiver of any other breach. Failure of either party to enforce at any time, or


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from time to time, any provision of this MOA shall not be construed to be a waiver
thereof.


(J) Compliance with Other Laws. Nothing in this MOA is intended or should be
construed to limit or affect the duties, responsibilities, and rights of the User Agency
under the National Voter Registration Act, 42 U.S.C. I973gg et seq., as amended; the
Help America Vote Act, 42 U.S.C. 15301 et seq., as amended; the Voting Rights Act, 42
U.S.C. 1973 et seq., as amended; and the Civil Rights Act, 42 U.S.C. 1971, 1974, as
amended.

VII. EFFECTIVE DATE.

This MOA shall be effective when the DHS-USCIS authorized official and User Agency
authorized official have both signed the MOA. This MOA shall continue in effect unless
modified or tenninated in accordance with the provisions of this MOA.

VIII. MODIFICATION.

(A) This MOA is subject to periodic review by DHS-USCIS, its authorized agents or
designees, and, if necessary, periodic modification and/or renewal to assure compliance
with current law, policy, and standard operating procedure(s). This MOA and the
attached USCIS Anticipated Collections from Non-Federal Sources Addendum constitute
the complete MOA between the parties for its stated purpose, and no modification or
addition will be valid unless entered into by mutual consent of both parties evidenced in
writing and signed by both parties and appended to this agreement; and

 (B) The User Agency may accomplish a unilateral administrative modification to add
 funds to the MOA, and either party may accomplish a unilateral administrative
 modification to change POC information. A written bilateral modification (i.e., agreed to
 and signed by authorized officials of both parties) is required to change any other term of
 this MOA.

 IX. TERMINATION.

 Either party may terminate this MOA at any time by providing 30 days written notice of
 intent. DHS·USCIS, when feasible, will consult with the User Agency and attempt to
 reconcile issues before terminating this MOA. Notwithstanding any other provision in
 the MOA, DHS-USCIS may suspend or terminate this MOA without prior notice if
 deemed necessary because of a requirement of law or policy, upon a determination by
 DHS-USCIS that there has been a breach of system integrity or security by the User
  Agency or a failure by ffie Oser Agency to comply with estabhshed procedures of iegal
  requirements, including but not limited to failure to pay.




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Written notices shall be sent to the addresses of the POCs listed herein and shall be
effective upon receipt. Either party may change its POC by written notice to the other
party.

The foregoing, in conjunction with the referenced and incorporated attachments,
constitutes the full agreement on this subject between DHS-USCIS and the User Agency.
This MOA supersedes all previous agreements governing the provision of verification
services. Those agreements are explicitly acknowledged to be null and void.




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The undersigned represent that they arc authorized to enter into this MOA on behalf of
DHS-USCIS and the User Agency, respectively.




Allsaar Rahl                                       Doaa d Palmer
Chief, SAVE Program                                Secretary
U.S. Citizenship and Immigration Services          Virginia State Board of Elections
Dep¥1ment of Homeland Security
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Date                                               Date




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             Information for Registrants: Verification of Citizenship Status and
            How to Obtain Your Document or Correct Your Record with USCIS
Many federal, state and local agencies verify the immigration or citizenship status of benefit
applicants to ensure that only qualified aliens or naturalized and derived citizens receive benefits.
These agencies verify immigration or citizenship status by using the Systematic Alien
Verification for Entitlements (SAVE) Program of the U.S. Department of Homeland Security,
U.S. Citizenship and Immigration Services (USCIS).

The voter registration agency in your state has submitted information to the SAVE Program for
verification of your citizenship. The SAVE Program cannot confirm your citizenship status based
upon information provided by the agency. Please note that there are a number of reasons why the
SAVE Program may not be able to verify your citizenship, e.g., the SAVE Program can only
verify naturalized or derived citizens, to the extent that a derived citizen received an official
determination on citizenship by USCIS. The inability of the SAVE Program to verify your
citizenship does not necessarily mean that you are not a citizen of the United States and are
ineligible to vote.

If you need a replacement of your Naturalization Certificate or Certificate of Citizenship or
believe that the SAVE Program response to the voter registration agency did not provide accurate
information about your citizenship status and you need to make corrections to your citizenship
record, please contact USCIS by using one of the following methods:

1. File a Form N-565 to obtain a replacement of your Naturali7.atioa Certificate or
Certifacate of Citizenship. The Fonn N•565 and instructions for filing can be found at:
bttp://www.uscis.gov/ftles/fonn/a-56S.pdf and http://www.uscls.gov/files/form/n-
565instr.pelf

2. Schedule an appointment for an ln-penon interview at a local USCIS office to correct
your record. You may schedule an appointment at a local USCIS office at the lnfoPass website,
http://infopass.uscis.gov, or by calling the National Customer Service Center, 1-800-37S.S283.
Schedulin& an appointment is the fastest way to correct your records. We recommend that you
bring to your appointment this Fact Sheet, documentation evidencing your citizenship status, and
any infonnation provided by the voter registration agency concerning why your citizenship status
could not be verified.




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3. Submit a request in writing to correct your record. If you know the infonnation that needs
to be corrected in your record, you may submit a request to correct your records to the Freedom
of lnfonnation Act/Privacy Act (FOINPA) Office at the following address:
    Privacy Act Amendment
    U.S. Citizenship and Immigration Services
    National Records Center
    FOIA/PA Office
    P.O. Box 648010
    Lee·s Summit, MO 64064-8010
We recommend that you include the following information in your submission, if available:

   • S1a1c that you arc heing denied voter hcnclils   • Copies of your immigr:uion or DI IS cilizenship documents
   • lnli>nnation thnt is inaccurate                  • Reason ii is inaccumle
   • Proposed ehangc(s) lo lhe record                 • A-File number and/or 1he full name
   • Dale and place orhirth                           • Notarizctl signature or the registmnl
    • A relurn address                                • O1her infom1a1ion lo a.,;.,;isl locating the record

If you do not know the infom1ation you need to correct, you may submit a written request to
obtain your records by submitting Fonn G-639. FOJAIPA Reque.rt. This fonn is available from
the nearest USCIS office or online at htt1l://www.uscis.go,•/liles/form/g-639.pdf. You should
use the address specified above. but mark the envelope ··Primc.:v Act Reqm::i·t .. rC1ther than
 ..Prfracy Act Ame11dme111. "




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